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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  HOLTZMAN ENTERPRISES, INC., on                      )
  behalf of itself and all others                     )
  similarly situated,                                 )
                                                      )
                    Plaintiff,                        )
                                                      )       Case No.: 1:21-cv-01441-STV
  v.                                                  )
                                                      )
  CONTINENTAL CASUALTY COMPANY,                       )
                                                      )
                    Defendant.                        )

                    PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE

       NOTICE IS HEREBY GIVEN that, pursuant to Federal Rules of Civil Procedure

  41(a)(1)(A)(i), Plaintiff voluntarily dismisses with prejudice the above-entitled action against

  all Defendants.

  Dated: July 28, 2021                    Respectfully submitted,

                                          By:     /s/ Richard S. Cornfeld
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of July, 2021, the foregoing was filed with the Court
  Clerk via the Court’s electronic filing system and served on upon all counsel of record via the
  Court’s electronic notification system.


                                                 /s/ Richard S. Cornfeld




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